     Case 2:21-cv-06556-JFW-SHK Document 16 Filed 11/03/21 Page 1 of 1 Page ID #:55




                                                                                                JS-6
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.         CV 21-6556-JFW(SHKx)                                          Date: November 3, 2021

Title:           Megan D. Erasmus -v- Michael J. Gunson DDS, MD.


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                                None Present
                 Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

        In the Notice of Settlement filed on November 3, 2021, Docket No. 14, the parties represent
that they have settled this action. As a result, the Court dismisses this action without prejudice
subject to either party reopening the action on or before January 3, 2022. The Court will retain
jurisdiction for the sole purpose of enforcing the settlement until January 3, 2022. Thereafter,
absent further order of the Court, the dismissal of this action will be with prejudice. All dates in this
action, including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                   Initials of Deputy Clerk sr

(Rev. 1/14/15)
